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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                       CRIMINAL ACTION

VERSUS                                                         NO. 19-60-WBV-KWR

IMAD FAIEZ HAMDAN, ET AL.                                      SECTION: D (4)

                                   ORDER AND REASONS

         Before the Court is a Motion to Dismiss or Strike Duplicitous, Time-Barred,

Defective Allegations in Counts 73 and 74 Concerning Insurance Company A, filed

by defendant, Imad Faiez Hamdan.1 The United States of America opposes the

Motion,2 and Hamdan has filed a Reply.3 After careful consideration of the parties’

memoranda and the applicable law, the Motion is DENIED.

    I.      FACTUAL AND PROCEDURAL BACKGROUND4

         The defendants in this case, Imad Faiez Hamdan (“Hamdan”) and Ziad Odeh

Mousa (“Mousa”) (collectively, “Defendants”), owned and operated more than 30 food

stores, convenience stores, and gas stations that operated under the name “Brothers

Food Mart” in the State of Louisiana.5 On October 10, 2019, the Government filed a

74-Count Superseding Indictment against Defendants.6 Pertinent to the instant



1 R. Doc. 290.
2 R. Doc. 305.
3 R. Doc. 338.
4 In the interest of judicial economy, and because the factual background of this case has been

extensively detailed in prior orders, the Court will limit its recitation of the factual and procedural
background to matters relevant to the instant Motion. See, R. Docs. 221, 222, 224, 229, 232, 233, 236,
& 369.
5 R. Doc. 47 at ¶ 2.
6 R. Doc. 47.
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Motion, Hamdan is charged in Counts 73 and 74 with mail fraud, in violation of 18

U.S.C. § 1341.7 The Government alleges that Hamdan devised a scheme to defraud

two workers’ compensation insurance companies, Insurance Company A and

Insurance Company B, by mailing them false monthly payroll reports for Brothers

Food Mart, which failed to include the total wages paid to undocumented workers

and store managers, as it excluded cash payments made to those workers that were

recorded outside of the Brothers Food Mart regular payroll system.8 The Government

also alleges that Hamdan submitted false documents to the insurance companies in

response to annual audits of Brothers Food Mart’s workers’ compensation insurance,

which included false IRS Forms 941, false IRS Forms 940, and false payroll

summaries that failed to report total wages paid to undocumented workers and store

managers.9

        Hamdan filed the instant Motion on February 3, 2021, seeking to dismiss or

strike the allegations in Counts 73 and 74 of the Superseding Indictment regarding

Insurance Company A “because these counts are duplicitous.”10 Hamdan asserts that

Counts 73 and 74 are duplicitous because they purport to charge him with two

separate mail fraud schemes – a scheme to defraud Insurance Company A between

2011 and 2012 and a subsequent scheme to defraud Insurance Company B between

2013 and 2014. Hamdan contends that these are separate alleged schemes with

separate alleged victims, based on separate alleged mailings that occurred during


7 Id. at ¶¶ 58-69.
8 Id. at ¶¶ 58, 63-65.
9 Id. at ¶ 66.
10 R. Doc. 290 at p. 1.
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separate alleged coverage periods.11               Relying upon United States v. Caldwell,

Hamdan argues that the Government cannot charge separate schemes against

Insurance Company A and Insurance Company B as a single, multi-object scheme

because the two specific mailings referenced in Counts 73 and 74 were to Insurance

Company B and did not further the alleged scheme against Insurance Company A.12

Alternatively, Hamdan asserts that even if Counts 73 and 74 involve “a continuous

scheme” to defraud, they remain duplicitous because they subject Hamdan to a risk

of double jeopardy and because the jury could convict him of both counts without

reaching a unanimous verdict as to which of the two insurers was defrauded.13

Hamdan further asserts that the alleged conduct relating to Insurance Company A

occurred outside the five-year statute of limitations for mail fraud because the

mailings allegedly occurred between January 2011 and December 2012, and the

Government did not charge Hamdan with mail fraud until October 2019.14 As such,

Hamdan asserts that the Court should require the Government “to elect the only

potentially viable alleged scheme charged in Counts 73 and 74 – the alleged scheme

relating to Insurance Company B,” and to strike the allegations in Counts 73 and 74

relating to Insurance Company A.15

        The Government argues that Hamdan’s Motion, which is his fourth attempt to

dismiss Counts 73 and 74, should be denied because the mail fraud counts are not




11 R. Doc. 290 at p. 1; R. Doc. 290-1 at pp. 4-6.
12 R. Doc. 290-1 at p. 5 (citing Caldwell, 302 F.3d 399, 408 (5th Cir. 2002)).
13 R. Doc. 290-1 at pp. 6-7.
14 R. Doc. 290 at p. 1; R. Doc. 290-1 at pp. 2 & 8-9 (citing 18 U.S.C. § 3282).
15 R. Doc. 290 at p. 1; R. Doc. 290-1 at p. 9.
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duplicitous since the Superseding Indictment alleges only one scheme to defraud

Brothers Food Mart’s workers’ compensation insurance carriers.16 Also relying on

United States v. Caldwell, the Government claims that each count is based on a single

mailing and, therefore, charges only one violation in each count, and further that both

mailings were in furtherance of Hamdan’s scheme to defraud workers’ compensation

insurance companies.17          The Government asserts that Hamdan’s scheme was to

defraud the insurance companies by falsely underreporting Brothers Food Mart’s

total payroll through use of the mails, thereby fraudulently reducing the cost of

Brothers Food Mart’s workers’ compensation insurance.18 The Government claims

that Hamdan accomplished this scheme by mailing false payroll reports to Insurance

Company A, by mailing false payroll reports to Insurance Company B, and by

submitting false documents to the insurance companies in response to annual audits

of Brothers Food Mart’s workers’ compensation insurance carriers. 19               The

Government contends that Paragraphs 64-66 of the Superseding Indictment inform

Hamdan of the three-pronged nature of the scheme alleged, and that the Court can

instruct the jury on the need for unanimity.20 The Government further asserts that,

“because the scheme was unitary, there is no statute of limitations problem or need

to be concerned about a defective ‘extra’ count that has no mailing allegation.”21 The

Government maintains that the mail fraud counts pose no duplicity problem because



16 R. Doc. 305 at p. 7.
17 Id. at pp. 6-7 (citing Caldwell, 302 F.3d 399, 407-08 (5th Cir. 2002)).
18 R. Doc. 305 at p. 8 (citing R. Doc. 47 at ¶¶ 62 & 63).
19 R. Doc. 305 at p. 8 (citing R. Doc. 47 at ¶¶ 64-66).
20 R. Doc. 305 at p. 10.
21 Id.
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they allege one unitary scheme and the two mailings to Insurance Company B were

in furtherance of that scheme.22 As such, the Government claims that the Motion

should be denied.

           In response, Hamdan asserts that the cases cited by the Government are

inapposite, and otherwise re-urges the same arguments made in his Motion.23

     II.      APPLICABLE LAW

           Rule 12(b) of the Federal Rules of Criminal Procedure permits a defendant to

raise by a pretrial motion, “Any defense, objection, or request that the court can

determine without a trial on the merits.”24 In the instant Motion, Hamdan seeks to

dismiss or strike certain allegations in Counts 73 and 74 of the Superseding

Indictment as duplicitous under Fed. R. Crim. P. 12. As the Government correctly

points out in a footnote, Hamdan fails to specify which provision of Rule 12 forms the

basis of his request for dismissal.25 Hamdan only mentions Rule 12, generally, as the

procedural means by which he is seeking relief.26 The Court, however, agrees with

the Government that Hamdan appears to seek relief under Rule 12(b)(3)(B)(i), which

addresses an alleged defect in an indictment based upon “joining two or more offenses

in the same count (duplicity).”27




22 Id.
23 R. Doc. 338 at p. 3.
24 Fed. R. Crim. P. 12(b)(1).
25 R. Doc. 305 at p. 5, n.7. See, R. Doc. 290.
26 R. Doc. 290 at p. 1.
27 Fed. R. Crim. P. 12(b)(3)(B)(i).
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     III.   ANALYSIS

        In the Superseding Indictment, the Government alleges that on or about

December 1, 2008 through November 30, 2014, Hamdan “devised a scheme to defraud

and to obtain money by materially false and fraudulent pretenses and

representations from worker’s compensation insurance companies, Insurance

Company A and Insurance Company B.”28 The Government alleges that the scheme

involved “paying employees and undocumented workers outside of the payroll system

and failing to report these payments when reporting total payroll to the insurance

companies.”29 The Government charges that, in furtherance of the scheme to defraud,

Hamdan mailed and caused to be mailed false monthly payroll reports for Brothers

Food Mart to Insurance Company A from at least January 2011 through December

2012, and also mailed and caused to be mailed false monthly payroll reports for

Brothers Food Mart to Insurance Company B from at least January 2013 through

November 2014.30         The Government alleges that the payroll reports mailed by

Hamdan failed to include total wages paid to undocumented workers and store

managers.31 The Government also charges that, in furtherance of the scheme to

defraud, Hamdan “submitted and caused to be submitted to the insurance companies

or their representatives, false documents in response to annual audits of Brothers

Food Mart’s workers’ compensation insurance. These false documents included, but

were not limited to, false IRS Forms 941, false IRS Forms 940, and false payroll


28 R. Doc. 47 at ¶ 62.
29 Id. at ¶ 63.
30 Id. at ¶¶ 64 & 65.
31 Id.
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summaries.”32 The Government alleges that, “These documents were false in that

they failed to report total wages paid to undocumented workers and store

managers.”33

        The Government further alleges in the Superseding Indictment that due to

these misrepresentations, Hamdan concealed from the insurance companies

approximately 57% of his true payroll and, as a result, paid significantly less in

insurance premiums to the insurance companies.34 The Government explains in the

Superseding Indictment that workers’ compensation insurance costs are determined,

in large part, by the size of the payroll of the insured entity, expressed in terms of the

dollar amount of the payroll, and that insurance companies rely on the insured to

correctly report the size of their payroll.35 The Government charges that Hamdan

defrauded and attempted to defraud the insurance companies of approximately

$350,000 in premium payments.36 In Count 73, the Government charges Hamdan

with mailing a monthly payroll report to Insurance Company B on October 16, 2014,

reporting the store employee payroll as $627,280 between September 1, 2014 and

September 30, 2014.37 In Count 74, the Government charges Hamdan with mailing

a monthly payroll report to Insurance Company B on November 19, 2014, reporting

the store employee payroll as $740,219 between October 1, 2014 and October 31,

2014.38


32 Id. at ¶ 66.
33 Id.
34 Id. at ¶ 67.
35 Id. at ¶ 61.
36 Id. at ¶ 68.
37 Id. at ¶ 69.
38 Id.
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       The parties agree that United States v. Caldwell is the controlling Fifth Circuit

authority regarding whether the allegations of mail fraud in the Superseding

Indictment are duplicitous.39          In Caldwell, the Fifth Circuit explained that, “A

duplicitous indictment is one that alleges ‘two or more distinct and separate offenses’

in a single count.”40 “[I]n determining whether the indictment is duplicitous, the

inquiry is ‘whether [the indictment] can be read to charge only one violation in each

count.”41 The Fifth Circuit further held in Caldwell that:

       [W]here a mail fraud count alleges only one instance of use of the mail
       in furtherance of multiple schemes (or a single scheme with multiple
       objects), the jury can find the defendant guilty of only one mail fraud
       offense on that count – regardless whether the jury finds that the
       defendant devised one or all of the alleged schemes associated with that
       particular use of the mail. Each mail fraud count in Caldwell’s
       indictment contains only one allegation of use of the mail. Thus, none
       of the counts is duplicitous.42

The Court reaches the same conclusion in this case. Each mail fraud count in the

Superseding Indictment – Count 73 and Count 74 – contains only one instance of use

of the mail.43 Count 73 charges Hamdan with mailing a false monthly payroll report

to Insurance Company B on October 16, 2014, and Count 74 charges Hamdan with

mailing a false monthly payroll report to Insurance Company B on November 19,

2014.44 Thus, Counts 73 and 74 are not duplicitous because each count charges only

one mail fraud offense under 18 U.S.C. § 1341.




39 302 F.3d 399, 407 (5th Cir. 2002).
40 Id. (quoting United States v. Morrow, 177 F.3d 272, 296 (5th Cir. 1999)).
41 Caldwell, 302 F.3d at 407 (quoting United States v. Sharpe, 193 F.3d 852, 865-66 (5th Cir. 1999)).
42 Caldwell, 302 F.3d at 408.
43 R. Doc. 47 at ¶ 69.
44 R. Doc. 47 at ¶¶ 69, 73, & 74.
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        The Court further finds that Counts 73 and 74 of the Superseding Indictment

charge Hamdan with only one scheme to defraud Brothers Food Mart’s workers’

compensation insurance carriers, and that the two mailings to Insurance Company B

were in furtherance of that scheme.45 As the Government points out, Hamdan seems

to have conceded this fact in a prior pleading.46 Specifically, Hamdan previously took

the position that, “Counts 73 and 74 purport to charge Mr. Hamdan with devising a

scheme to defraud workers’ compensation insurers out of premium payments by

means of ‘materially false and fraudulent pretenses and representations.”47 Hamdan

also previously asserted that the vague allegations in Counts 73 and 74 “leave open

the possibility that the government will claim at trial that the alleged scheme to

defraud rested on particular documents the grand jury never considered . . . .”48

Additionally, the Court agrees with the Government that the Superseding Indictment

alleges that to accomplish the one scheme to defraud, Hamdan (1) mailed false payroll

reports to Insurance Company A; (2) mailed false payroll reports to Insurance

Company B; and (3) submitted false documents to the insurance companies in

response to annual audits of Brothers Food Mart’s workers’ compensation

insurance.49 Because the Court finds that Counts 73 and 74 allege only one scheme

to defraud, the Court rejects as meritless Hamdan’s assertion that, “one of the alleged

schemes occurred outside the statute of limitations.”50



45 R. Doc. 47 at ¶¶ 62 & 63.
46 R. Doc. 305 at p. 7, n.10 (citing R. Doc. 289-1 at p. 1).
47 R. Doc. 289-1 at p. 2 (quoting R. Doc. 47 at ¶ 62).
48 R. Doc. 289-1 at p. 6 (emphasis added).
49 R. Doc. 47 at ¶¶ 62-66.
50 R. Doc. 290-1 at p. 8.
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        Finally, the Court rejects Hamdan’s argument that Counts 73 and 74 of the

Superseding Indictment are duplicitous because they subject Hamdan to a risk of

double jeopardy and would allow him to be convicted by a non-unanimous verdict.51

Although Hamdan cites United States v. Baytank (Houston), Inc. in support of his

position, Hamdan’s reliance on that case is misplaced.52 The defendant in Baytank

argued that two counts in his indictment were duplicitous, “meaning that each

charged more than one offense, contrary to Federal Rule of Criminal Procedure

8(a).”53   The Fifth Circuit in Baytank explained that, “An indictment may be

duplicitous if it joins in a single count two or more distinct offenses.”54 Additionally,

“If an indictment is duplicitous and prejudice results, the conviction may be subject

to reversal.”55

        The Baytank court ultimately concluded that the defendant had waived his

duplicity argument by failing to object prior to trial, and the defendant had failed to

show good cause for granting relief from waiver under Fed. R. Crim. P. 12(f). 56 The

Fifth Circuit then explained that:

        Notwithstanding that a defendant’s actions, charged in a single count,
        could have been charged as separate violations, nevertheless a single
        count may be used where those actions ‘represent a single, continuing
        scheme,’ provided the indictment (1) notifies the defendant adequately
        of the charges against him; (2) does not subject the defendant to double
        jeopardy; (3) does not permit prejudicial evidentiary rulings at trial; and
        (4) does not allow the defendant to be convicted by a nonunanimous jury
        verdict. This analysis is supported by Federal Rule of Criminal


51 See, R. Doc. 290-1 at pp. 6-7; R. Doc. 338 at p. 4.
52 R. Doc. 290-1 at p. 7 (citing Baytank, 934 F.2d 599, 609 (5th Cir. 1991)).
53 Baytank 934 F.2d at 608.
54 Id. (citing United States v. Robin, 693 F.2d 376, 378 (5th Cir. 1982)).
55 Baytank, 934 F.2d at 608 (citation omitted).
56 Id. at 608-09.
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           Procedure 7(c)(1), which allows one or more specified means to be
           included in a single count.57

Thus, the Court would only consider the foregoing four factors in determining

whether Hamdan was prejudiced by the inclusion of two separate offenses in the same

count.58 The Court, however, has already determined that Counts 73 and 74 of the

Superseding Indictment are not duplicitous because they charge Hamdan with only

one offense in each count. As such, the prejudice analysis set forth in Baytank does

not apply in this case.59

           Based on the foregoing analysis, the Court finds that Hamdan’s Motion must

be denied.

     IV.      CONCLUSION

           For the reasons set forth above, IT IS HEREBY ORDERED that the Motion

to Dismiss or Strike Duplicitous, Time-Barred, Defective Allegations in Counts 73

and 74 Concerning Insurance Company A60 is DENIED.

           New Orleans, Louisiana, June 24, 2022.



                                              ______________________________
                                              WENDY B. VITTER
                                              United States District Judge




57 Baytank, 934 F.2d at 609.
58 See, United States v. Casby, Crim. A. No. 11-130, 2012 WL 928430, at *10-11 (E.D. La. Mar. 19,
2012) (Fallon, J.) (citing Baytank, 934 F.2d at 608-09).
59 The Court notes that the Fifth Circuit has made clear that, “The danger of a nonunanimous jury

verdict may be avoided by proper jury instructions.” United States v. Fisher, 106 F.3d 622, 633 (5th
Cir. 1997), abrogated on other grounds by Ohler v. United States, 529 U.S. 753, 120 S.Ct. 1851, 146
L.Ed.2d 826 (2000). See, Casby, Crim. A. No. 11-130, 2012 WL 928430 at *11 (citing Baytank, 934
F.2d at 609) (“However, duplicity can be cured by a limiting instruction to the jury.”).
60 R. Doc. 290.
